        Case 2:25-cv-01277-SVW-AJR                      Document 8         Filed 02/18/25       Page 1 of 2 Page ID
                                                             #:44
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Central District
                                                 __________  DistrictofofCalifornia
                                                                          __________

   HEIDI FENTON, individually and on behalf of all                 )
            others similarly situated,                             )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                 v.                                        Civil Action No. 2:25-cv-1277 - SVW (AJRx)
                                                                   )
   CHURCH OF SCIENTOLOGY INTERNATIONAL,
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)
                                                                   )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHURCH OF SCIENTOLOGY INTERNATIONAL
                                       6331 HOLLYWOOD BLVD.
                                       LOS ANGELES, CA 90028




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Frank S. Hedin
                                       HEDIN LLP
                                       535 Mission Street, 14th Floor
                                       San Francisco, CA 94105



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:      2/18/2025
                                                                                        Signature of Clerk or Depu
                                                                                                              Deputy
                                                                                                                p t Clerk
                                                                                                                pu
          Case 2:25-cv-01277-SVW-AJR                         Document 8         Filed 02/18/25            Page 2 of 2 Page ID
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 Civil Action No. 2:25-cv-1277

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
           on (date)                                , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                                ; or

           ’ Other (specify):
                                                                                                                                             .


           My fees are $                            for travel and $                   for services, for a total of $          0.00          .



           I declare under penalty of perjury that this information is true.


 Date:
                                                                                               Server’s signature



                                                                                           Printed name and title




                                                                                               Server’s address

 Additional information regarding attempted service, etc:




           Print                        Save As...                                                                       Reset
